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                                                                                                         E-Filed
                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                              CRIMINAL MINUTES - GENERAL


 Case No.          CR 01-237 WDK                                                            Date     October 2, 2009


 Presiding: The Honorable                   GEORGE H. KING, UNITED STATES DISTRICT JUDGE
 Interpreter             N/A
           Beatrice Herrera                    Mary Riordan Rickey                     Evan Davis/Michael Wilner
                Deputy Clerk                      Court Reporter.                           Assistant U.S. Attorney


                U.S.A. v. Defendant(s):         Present Cust. Bond        Attorneys for Defendants:          Present App. Ret.

           Gregory Alan Foster                    Y      Y                 Justin Sanders                         Y              Y


 Proceedings:           FINAL HEARING RE: PRELIMINARY REVOCATION OF SUPERVISED RELEASE


        Matter called defendant is present with counsel. Also present is Monica Blodgett, Probation Officer. The Court
inquires of defendant and counsel if they have received a copy of the petition by the Probation Office, filed August 28,
2009. The Court further inquires if the defendant has had an opportunity to read the allegations set forth in the petition.
The defendant is informed of and read to the allegations in the petition. Defendant admits allegations 1, 3, and 4.

         The Court hears from defendant, counsel, government and the Probation Officer prior to imposition of sentence.
Based upon the admission of the defendant to having violated the terms and conditions of his supervised release. The
Court finds them to be true and the defendant in violation of the terms and conditions of supervised release. Supervised
release is hereby revoked, vacated and set aside.

       IT IS ADJUDGED that the defendant is hereby committed to the custody of the Bureau of Prisons to be
imprisoned for a term of five (5) months. No supervision is to follow.

         IT IS SO ORDERED.




cc: Senior District Judge Keller



                                                                                                              :       10
                                                                 Initials of Deputy Clerk          Bea




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